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UNITED STATES DISTRICT COURT LED EY 1 ii D_(_;r
WESTERN DISTRICT 0F TENNESSEEJUH 15 P_ l 3
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. w. IN, f,,‘;:f¢/?pg!§
COUNTRYWIDE HOME LOANS, INC. JUDGMENT IN A CIVIL CASE
v-
AARON PERKINS; TIJUANA PERKINS, CASE NO: 00-3082-D

DWAN BROWN, AMERICAN REALTY USA,

INC., A & R INVESTMENTS, WILLIAM N.
GRIFFIN, GRIFFIN, CLIFT, EVERTON &
TI-IORNTON, EQUITY FIRST MORTGAGE, LLC,
LAKINA COOK, SECURITY TITLE COMPAI\TYl INC.,
VALERIE J. BRIGGS d/b/a VAL PROPERTIES,
ANN BAKER d/b/a ANN BAKER & ASSOCIATES,
and JOHN DOES 1-10

 

DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance with the Order of
Voluntary Dismissal entered on June 1, 2005, this cause is hereby
dismissed without prejudice.

APPROVED:

 

'~"<.UBERT R. D| TRGF_E€)

Dat Clerk of Court '

 

 

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 115 in
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EsSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

